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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



 SUSIE BROWN,

       Plaintiff,

 v.                                                  CASE NO.: 8:10-cv-2598-T-23EAJ

 HUNTER WARFIELD,

      Defendant.
 __________________________________/


                                          ORDER

       The plaintiff stipulates to dismissal with prejudice. (Doc. 7) The stipulation is

 APPROVED and the action is DISMISSED WITH PREJUDICE.

       ORDERED in Tampa, Florida, on March 2, 2011.
